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                                                                          6                                IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   SIX4THREE, LLC, a Delaware limited
                                                                         11   liability company,
United States District Court




                                                                                                                                           No. C 17-00359 WHA
                                                                                              Plaintiff,
                               For the Northern District of California




                                                                         12
                                                                         13     v.
                                                                                                                                           ORDER GRANTING
                                                                         14   FACEBOOK, INC., a Delaware corporation,                      REQUEST TO FILE A
                                                                              and DOES 1 through 50, inclusive,                            SURREPLY AND
                                                                         15                                                                REQUESTING RESPONSE
                                                                                              Defendant.                                   FROM PLAINTIFF
                                                                         16                                               /

                                                                         17           Facebook objects to Six4Three’s inclusion of seventeen exhibits appended to a reply
                                                                         18   declaration in support of its motion to remand and to Six4Three’s use of excessive footnotes in
                                                                         19   smaller than 12-point font and more than twenty-eight lines per page in an effort to squeeze new
                                                                         20   arguments into its reply in violation of this Court’s formatting requirements. Facebook may
                                                                         21   submit a surreply NOT TO EXCEED FIVE PAGES by FEBRUARY 15 AT 2:00 P.M..
                                                                         22           Facebook may not use this surreply as an opportunity to restate its arguments in
                                                                         23   opposition. Any material in the surreply not directed at new arguments or evidence raised for
                                                                         24   the first time on reply will be stricken.
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                                                                          1          Additionally, by FEBRUARY 15 AT 2:00 P.M., plaintiff shall state unequivocally whether
                                                                          2   it will rely in any way on any federal law to support its claims herein. The response must be
                                                                          3   either “yes” or “no.” If the answer is “no,” plaintiff will be bound to that answer and on remand
                                                                          4   may not rely on any federal law.
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                                                                          6          IT IS SO ORDERED.
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                                                                          8   Dated: February 14, 2017.
                                                                                                                                      WILLIAM ALSUP
                                                                          9                                                           UNITED STATES DISTRICT JUDGE
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                                                                         11
United States District Court
                               For the Northern District of California




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